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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

WILLE B. SMITH, III,                           )
                                               )
                Plaintiff,                     )
                                               )
v.                                             )      CASE NO. 2:19-cv-927-ECM
                                               )
JEFFERSON S. DUNN, et al.,                     )
                                               )
                Defendants.                    )
                                               )

                                          ORDER

         On June 2, 2021, the Defendants filed a Notice to the Court “to clarify the record as

to Defendants’ knowledge of how the election form came to be distributed to Plaintiff.”

(Doc. 69 at 3, para. 7). It appears to the Court from this notice and from the record that the

Defendants asserted repeatedly a verifiable fact without evidentiary support. Accordingly,

it is

         ORDERED that on or before August 24, 2021, the Defendants shall show cause

why the Alabama Attorney General Steve Marshall, Jefferson Dunn, and Terry Raybon

should not be sanctioned pursuant to Fed. R. Civ. P. 11(b) and (c), 28 U.S.C. § 1927, or

under the Court’s inherent power to assess sanctions for bad faith conduct or conduct that

abuses the judicial process. It is further
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      ORDERED that a hearing on this matter is set for September 1, 2021 at 10:00 a.m.

in Courtroom 2A, United States Courthouse Complex, Montgomery, Alabama. The Clerk

of the Court is DIRECTED to provide a court reporter for this proceeding.

      DONE this 16th day of August, 2021.


                                     /s/ Emily C. Marks
                           EMILY C. MARKS
                           CHIEF UNITED STATES DISTRICT JUDGE




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